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                                                              THE HONORABLE THOMAS S. ZILLY
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 8
                           IN THE UNITED STATES DISTRICT COURT
 9
                         FOR THE WESTERN DISTRICT OF WASHINGTON
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11    HUNTERS CAPITAL, LLC, et al.,
                                                           Case No. 2:20-cv-00983-TSZ
12

13                                Plaintiffs,              DECLARATION OF GABRIEL REILLY-
                                                           BATES IN SUPPORT OF PLAINTIFFS’
14                                                         RESPONSE TO CITY OF SEATTLE’S
             vs.                                           MOTION FOR SPOLIATION
15
                                                           Noted: November 15, 2022
16    CITY OF SEATTLE,
17
                                  Defendant.
18

19          I, Gabriel Reilly-Bates, declare as follows:

20          1.     I am an attorney with Morgan, Lewis & Bockius LLP and represent Plaintiffs in

21   the above-captioned action. I am over eighteen years of age and am competent to testify herein. I

22   make the following statements based on my personal knowledge.

23          2.     The documents that the City of Seattle (“City”) claims that Jill Cronauer “failed to

24   preserve” or “deleted”, Cramer Declaration Exs. 108-7 through 108-10, were not in fact deleted.

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      DECLARATION OF GABRIEL REILLY-BATES                               MORGAN, LEWIS & BOCKIUS LLP
27    IN SUPPORT OF PLAINTIFFS’ RESPONSE TO                                          ATTORNEYS AT LAW
                                                                              1301 SECOND AVENUE, SUITE 2800
      CITY OF SEATTLE’S MOTION FOR                                              SEATTLE, WASHINGTON 98101
      SPOLIATION                                                         TEL +1.206.274.6400 FAX +1.206.274.6401
      (Case No. 2:20-cv-00983-TSZ) - 1
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 1          3.      On Tuesday, September 27, 2022, two days before the City filed its Motion for

 2   Spoliation Sanctions (the “Motion”), the City disclosed, for the first time, that it believed that Ms.

 3   Cronauer had deleted one text message chain and three email chains.

 4          4.      The City made this disclosure because it had not received them in discovery from

 5   Hunters Capital; instead, they received them from third-parties.

 6          5.      On Thursday, September 29, 2022, before the City filed its Motion for Spoliation

 7   Sanctions (Dkt. No. 107), counsel for the Plaintiffs sent an email indicating that three of the four

 8   documents the City claimed were “deleted” had not actually been deleted, but in fact had not been

 9   produced for various reasons. A true and correct copy of an email from Tyler Weaver dated

10   September 29, 2022, regarding Ms. Cronauer’s emails and text message chain not being deleted is

11   attached hereto as Exhibit 1. I received a copy of Exhibit 1 on September 29, 2022.

12          6.      My colleague, Tyler Weaver, indicated that it was not an appropriate issue for a

13   motion for spoliation, and that the City had not provided enough notice to resolve the discovery

14   issue. In addition, on October 28, 2022, counsel produced copies of Cramer Ex. Nos. 108-8

15   through 108-10, to the City. We indicated that we would produce text messages contained in

16   Cramer Ex. No. 108-7 at a later date following a review of the text message collection.

17          7.      Later, counsel for Plaintiffs discovered the fourth and final document that the City

18   claimed was missing.

19          8.      In addition, the parties further met and conferred and agreed that this issue was not

20   a spoliation issue, as the documents were not deleted, but it was a discovery issue, and that the

21   parties would continue to meet and confer about the issue.

22          9.      A true and correct copy of excerpts from the Deposition of Michael Malone taken

23   on August 22, 2022 is attached hereto as Exhibit 2.

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 1          10.     A true and correct copy of an email (Bates stamped CHOP-0055051 plus

 2   attachment) dated June 1, 2021 from Paul Peterson to Michael Malone and Barbara Malone

 3   regarding the UPS shipment of Michael Malone’s lost phone is attached hereto as Exhibit 3.

 4          11.     A true and correct copy of an email (Bates stamped CHOP-0055045 plus

 5   attachment) dated June 7, 2021 from Paul Peterson to Michael Malone about the theft of Malone’s

 6   phone, filing a claim with UPS for the phone, and the attached UPS delivery receipt for the package

 7   (that was stolen upon delivery) is attached hereto as Exhibit 4.

 8          12.     Mr. Malone was reimbursed by UPS for the theft of his phone. A true and correct

 9   copy of the reimbursement check dated July 15, 2021 is attached hereto as Exhibit 5.

10          13.      The City never asked to inspect Mr. Biller’s phone despite now moving for

11   sanctions.

12          14.     Plaintiffs have produced over 8,866 Signal messages that Plaintiffs’ counsel

13   collected from a third-party participant who was involved in these neighborhood chats, even

14   though these chats were almost exclusively personal messages sent on personal devices.

15          15.     The City’s position with regard to personal messages on Signal is hypocritical,

16   because such messages were personal messages, but the City refused to even collect any forms of

17   personal communication for any of its City employees. A true and correct copy of an email from

18   me to counsel for the City dated September 7, 2022, is attached hereto as Exhibit 6, asking the

19   City to confirm that it refused to “preserve, collect and produce ESI from its employees” personal

20   electronic devices. Also attached to Exhibit 6 is a letter dated September 9, 2021, in which I had

21   asked the City to confirm the same position, which it later did. See email dated September 28, 2021

22   from me to Mr. Cramer and Ms. Caitlin Pratt (former counsel for the City), a true and correct copy

23   of which is attached as Exhibit 10.

24          16.     A true and correct copy of the City’s response email dated September 7, 2022, is

25   attached hereto as Exhibit 7. The email reaffirmed the City’s refusal to preserve or collect any ESI

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 1   from its employees’ personal phones: “[w]ith respect to your position that the City needs to collect

 2   text messages from all of its employees’ personal cell phones, our position remains the same as

 3   it has throughout the case. The City’s collection of text messages from its employees’ personal

 4   devices is both overly burdensome and constrained by Nissan and other cases we cited to you in

 5   September when we last discussed this issue.” (emphasis added.)

 6          17.     The City’s Dkt. 108-19, a 34-page printout, is only a small sample of the 8868

 7   Signal messages produced by Plaintiffs.

 8          18.     A true and correct copy of an excerpt of Plaintiff’s Signal Message Production

 9   showing a selection of direct messages that were produced by Plaintiffs is attached hereto as

10   Exhibit 8.

11          19.     In discovery, Plaintiffs received a handful of text messages between Mayor Jenny

12   Durkan’s personal phone and Mr. Malone in response to subpoena that Plaintiffs issued directly to

13   Durkan, consisting mainly of Mr. Malone’s requests for meetings to discuss the cleanup of the

14   neighborhood and Cal Anderson Park.           Former Mayor Durkan marked these messages

15   “Confidential.”

16          20.     Plaintiffs produced 998 other text messages and hundreds of emails to or from Ms.

17   Cronauer.

18          21.     Plaintiffs produced emails, board minutes and Signal messages from Mr. Biller and

19   Onyx HOA.

20          22.     Ms. Elle Lochelt was not designated as a custodian for Richmark during discovery.

21          23.     True and correct copies of Excerpts of the Deposition of Bill Donner taken on

22   November 16, 2021 are attached hereto as Exhibit 9.

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 1          I declare under the penalty of perjury under the laws of the United States of America and

 2   the State of Washington that the foregoing is true and correct.

 3          DATED this 28th day of October, 2022 at Vashon Island, Washington.

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                                                     s/ Gabriel Reilly-Bates
 5                                                      Gabriel Reilly-Bates
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